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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter I I

iPic-Gold Class Entertainment LLC, et al.,t                    Case   No. 19-l1739 (LSS)

                                     Debtors.                  (Jointly Admi nistrated)



                            SUPPLEMENTAL AFFIDAVIT OF SERVICE

            I, James Nguyen-Phan, depose and say that I am employed by Stretto, the claims and
    noticing agent for the Debtors in the above-captioned cases.

         On October2,2019, at my direction and under my supervision, employees of Stretto caused
the following document to be served via first-class mail on the service list attached hereto as
E,xhibit A, pursuant to USPS forwarding instructions:

      o   [Customizedl Notice of Proposed Assumption and Assignment of Designated
          Executory Contracts and Unexpired Leases (Docket No. 282)


Dated: November 29, 2019
                                                                                James Nguyen-Phan




    A notary public or other officer completing this certificate verifies only the identity of the individual
    who signed the document to which this certificate is attached, and not the truthfulness, accuracy, or
    validity of that document.

State o1'California, County of Orange

                                                                 @;""*,**t+H,,
Subscribed and sworn to (or affirmed) before me o n   S         o            2019 by James
Nguyen-Phan, proved to me on the basis of satisfactory evidence to be the person who appeared
before me.

Signature:         ---.              \--



I The Debtors in these chapter I I cases, along with the last four digits of each Debtor's federal tax identification
number, as applicable, are: iPic Entertainment Inc. (9582); iPic-Gold Class Entertainment, LLC $680; iPic Gold
Class Holdings LLC (63l5); iPic Media, LLC (0150); iPic Texas, LLC (N/A); and Delray Beach Holdings LLC
(1035). The Debtors'principal place of business is 433 Plaza Real, Suite 335, Boca Raton, FL33432.
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                    Exhibit A
                                            Case 19-11739-LSS      Doc 551       Filed 12/02/19    Page 3 of 3
                                                                    Exhibit A
                                                             Served Via First-Class Mail

                            NAME                           ADDRESS 1                         ADDRESS 2               CITY        STATE       ZIP
 CLOUDHESIVE, LLC                               2419 E COMMERCIAL BLVD STE 300                                FORT LAUDERDALE    FL      33308-4066
 GABBY CORTES                                   6407 BELLA CIR UNIT 406                                       BOYNTON BEACH      FL      33437-5561
 INTEGRATED MEDIA SYSTEMS, INC. DBA BE MEDIA    MOHAMMAD AHMADI                        20545 PLUMMER ST       CHATSWORTH         CA      91311-5110
 KOUNT INC.                                     1005 W MAIN ST STE 100                                        BOISE              ID      83702-5751
 LILA ABRAMSON                                  2505 WILLOW ST                                                AUSTIN             TX      78702-5629
 SALEM ENGINEERING GROUP, INC.                  R. SAMMY SALEM                         8711 MONROE CT STE A   RANCHO CUCAMONGA   CA      91730-4898




In re: iPic-Gold Class Entertainment, LLC
Case No. 19-11739 (LSS)                                                                                                                    Page 1 of 1
